     Case 2:24-cv-00165-TOR     ECF No. 16       filed 09/16/24   PageID.319 Page 1 of 11




 1                                                            JUDGE THOMAS O. RICE
 2   Heather C. Yakely, WSBA #28848
     Evans, Craven & Lackie, P.S.
 3
     818 W. Riverside, Suite 250
 4   Spokane, WA 99201-0910
 5   (509) 455-5200
     hyakely@ecl-law.com
 6
 7   Attorney for Spokane County Defendants
 8
 9
10
11                     UNITED STATES DISTRICT COURT
12                FOR THE EASTERN DISTRICT OF WASHINGTON
13
14     JAMES LEIGHTY,                              No. 2:24-cv-00165-TOR
15
                                   Plaintiffs,     DEFENDANTS’ ANSWER TO
16
                                                   PLAINTIFF’S COMPLAINT FOR
17     vs.                                         DAMAGES AND JURY DEMAND
18
       SPOKANE COUNTY, a municipal
19
       corporation; SHERIFF JOHN
20     NOWELS, an individual; and
21     SPOKANE COUNTY
       SHERIFF’S OFFICE, a subdivision
22
       of a
23     municipal corporation,
24                            Defendants.
25
             In answer to the Plaintiff’s Complaint for Damages, the Defendants Admit,
26
     deny, and allege as follows:
27
                              I.     NATURE OF THE CASE
28
29
             1.1. Defendants deny.
30   DEFENDANTS’ ANSWER TO PLAINTIFF’S
     COMPLAINT FOR DAMAGES AND JURY DEMAND- page 1
                                                                            818 W. Riverside, Suite 250
                                                                              Spokane, WA 99201-0910
                                                                    (509) 455-5200; fax (509) 455-3632
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 1         1.2. Defendants Admit. that it maintains a Facebook page for posting
 2
     information and updates about Sheriff’s Office news, incidents, events and services.
 3
     Defendants deny any further allegations set forth in this paragraph.
 4
           1.3. Defendants Admit. that Mr. Leighty wrote comments in response to
 5
 6
     Official Facebook posts. Defendants deny any further allegations set forth in this
 7   paragraph.
 8         1.4. Defendants Admit. that it does not provide notice of hiding comments.
 9   Defendants deny the remainder of the paragraph.
10         1.5. No answer is required to this paragraph.
11
                                      II.     PARTIES
12
           2.1. Defendants are without sufficient information to Admit. or deny and
13
     therefore denies the same.
14
15         2.2. Defendants Admit. that Sheriff John Nowles is the duly elected Sheriff
16   of Spokane County. He was the Sheriff during the time set forth in Plaintiff’s
17   Complaint. The remainder of this paragraph calls for a legal conclusion and no
18   answer is required.
19
           2.3. Defendants Admit. that Spokane County is a municipal corporation.
20
     The remainder of this paragraph calls for a legal conclusion and no answer is
21
     required.
22
23
                         III.    JURISDICTION AND VENUE
24         3.1. Defendants Admit.
25         3.2. Defendants Admit.
26                         IV.    FACTUAL ALLEGATIONS
27         4.1. Defendants are without sufficient information to Admit. or deny and
28
           therefore deny the same.
29
30   DEFENDANTS’ ANSWER TO PLAINTIFF’S
     COMPLAINT FOR DAMAGES AND JURY DEMAND- page 2
                                                                         818 W. Riverside, Suite 250
                                                                           Spokane, WA 99201-0910
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 1         4.2 Defendants are without sufficient information to Admit. or deny and
 2
           therefore deny the same.
 3
           4.3. Admit. to the extent that the Facebook Homepage speaks for itself.
 4
           4.4. Defendants Admit. that Nowles has authorized employees to manage the
 5
 6
           Facebook page. The remainder of the paragraph calls for a legal conclusion
 7         and no answer is required. Defendants deny that any person other than the
 8         Sheriff is a final policymaker for Spokane County.
 9         4.5. The document speaks for itself, and no answer is required. To the extent
10         that Plaintiff has accurately summarized the disclaimer, Defendants Admit.
11
           the same.
12
           4.6. The document speaks for itself, and no answer is required. To the extent
13
           that Plaintiff has accurately summarized the disclaimer, Defendants Admit.
14
15         the same.
16         4.7. Admit.
17         4.8. Admit. that any third party can follow the SCSO Facebook page. To the
18         extent Plaintiff asserts there is a unique compilation, Defendants are without
19
           sufficient information to Admit. or deny and therefore denies the same.
20
           4.9. Admit.
21
           4.10. Admit.
22
23
           4.11. This paragraph calls for a legal conclusion and no answer is required.
24         4.12. Defendants are without sufficient information to Admit. or deny and
25         therefore denies the same. Defendants Admit. that Plaintiff purports to
26         advocate in matters related to law enforcement.
27         4.13. Defendants are without sufficient information to Admit. or deny and
28
           therefore denies the same.
29
30   DEFENDANTS’ ANSWER TO PLAINTIFF’S
     COMPLAINT FOR DAMAGES AND JURY DEMAND- page 3
                                                                        818 W. Riverside, Suite 250
                                                                          Spokane, WA 99201-0910
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 1         4.14. Defendants Admit. that Plaintiff comments on the SCSO Facebook
 2
           page. SCSO denies censoring many of Plaintiff’s comments and affirmatively
 3
           asserts that it applied its terms of use to Plaintiff’s posts.
 4
           4.15. Admit.
 5
 6
           4.16 Admit.
 7         4.17. Deny to the extent that it is a FB policy, not SCSO’s policy. “hiding
 8         comments from your Page.”
 9         https://www.facebook.com/help/841213946569182
10         4.18. Defendants are without sufficient information to Admit. or deny and
11
           therefore denies the same as Plaintiff asks for a response from a user’s
12
           statement of mind.
13
           4.19. Admit. to the extent that SCSO followed its terms of use as to Plaintiff’s
14
15         improperly stated summary.
16         4.20. Deny. Plaintiff had access to the posting policy which sets forth terms
17         of use.
18         4.21. Admit but only to the extent that SCSO posted a press release from the
19
           Prosecuting Attorney’s office that no charges would be filed against a
20
           Spokane County Detention Services Corrections Officer, not a SCSO Deputy.
21
           Detention services has been overseen by the Board of County Commissioners
22
23
           since 2013, not the SCSO. Defendants are without sufficient information to
24         admit or deny the remainder of the paragraph and therefore deny the same.
25         4.22. Deny. Plaintiff had access to the posting policy which sets forth terms
26         of use.
27         4.23. Admit. to the extent that the email would speak for itself.
28
29
30   DEFENDANTS’ ANSWER TO PLAINTIFF’S
     COMPLAINT FOR DAMAGES AND JURY DEMAND- page 4
                                                                          818 W. Riverside, Suite 250
                                                                            Spokane, WA 99201-0910
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 1         4.24. Admit. to a post being made on October 6, 2021. Plaintiff released the
 2
           Deputy’s name and the victim’s name making judgements as stated facts that
 3
           had not yet been determined and made comments purporting to claim the
 4
           deputy was guilty before any investigation had been completed and was
 5
 6
           ongoing. The Prosecuting Attorney’s office announced on March 30, 2022,
 7         that the Deputy’s actions were justified. Defendants are without sufficient
 8         information to admit or deny any further allegations and therefore denies the
 9         same.
10         4.25. Deny. Plaintiff had access to the posting policy which sets forth terms
11
           of use.
12
           4.26. Admit. that a post was made on October 19, 2023. Deny as to the
13
           remainder and affirmatively assert that the “prompt” arrest was made because
14
15         it was regarding a protection order with assault DV and a warrant for a
16         violation of a protection order DV. The arrest was therefore mandated by
17         RCW. However, Plaintiff ignored, or was unaware of the mandatory arrest
18         requirements and instead noted the deputy by name even though the incident
19
           was being independently investigated by the Spokane Police Department. At
20
           the time of Plaintiff’s post, probable cause had not been established by the
21
           SPD investigators, nor had the deputy been charged or convicted. As in
22
23
           keeping with the general law about releasing suspect information SCSO does
24         not post, nor would it allow to be posted incorrect “facts” about suspects
25         unless they have been formally charged. This deputy was not charged.
26         4.27. Deny. Plaintiff had access to the posting policy which sets forth terms
27         of use.
28
29
30   DEFENDANTS’ ANSWER TO PLAINTIFF’S
     COMPLAINT FOR DAMAGES AND JURY DEMAND- page 5
                                                                        818 W. Riverside, Suite 250
                                                                          Spokane, WA 99201-0910
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 1         4.28. Admit. that a post was made on October 26, 2023. Deny as to the
 2
           remainder and affirmatively assert that an independent investigation was
 3
           ongoing by Spokane Police Department. There had been no findings and no
 4
           charges at the time Plaintiff’s post was made in which he named the deputy
 5
 6
           by name. The deputy was never charged or convicted. As in keeping with
 7         the general law about releasing suspect information SCSO does not post, nor
 8         would it allow to be posted incorrect “facts” about suspects unless they have
 9         been formally charged. This deputy, named by Plaintiff in his post, was not
10         charged.
11
           4.29. Deny. Plaintiff had access to the posting policy which sets forth terms
12
           of use.
13
           4.30. Admit. that a post was made on February 21, 2024. Defendants are
14
15         without sufficient information to admit or deny and therefore denies the same.
16         4.31. Deny. Plaintiff had access to the posting policy which sets forth terms
17         of use.
18         4.32. Admit that a post was made on March 20, 2024. This was a shooting of
19
           public concern, and an arrest on a burglary, kidnapping 2nd degree, assault 2nd
20
           and violation of a protection order with assault (DV). Again, the arrest was
21
           mandatory because of the DV per Washington Statute where probable cause
22
23
           exists. Plaintiff again noted the deputy by name where the investigation was
24         ongoing by Spokane Police Department and the Deputy was not charged. As
25         in keeping with the general law about releasing suspect information SCSO
26         does not post, nor would it allow to be posted incorrect “facts” about suspects
27         unless they have been formally charged.
28
29
30   DEFENDANTS’ ANSWER TO PLAINTIFF’S
     COMPLAINT FOR DAMAGES AND JURY DEMAND- page 6
                                                                         818 W. Riverside, Suite 250
                                                                           Spokane, WA 99201-0910
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 1         4.33. Deny. Plaintiff had access to the posting policy which sets forth terms
 2
           of use.
 3
           4.34. Admit that a post was made on May 8, 2024. Defendants are without
 4
           sufficient information to admit or deny and therefore denies the same.
 5
 6
           4.35. Deny. Plaintiff had access to the posting policy which sets forth terms
 7         of use.
 8         4.36. This paragraph calls for a legal conclusion and therefore no answer is
 9         required. To the extent that any factual allegations are set forth, Defendants
10         deny the same and affirmatively assert that if “pro police” comments violated
11
           the posting policies they would also be hidden.
12
           4.37. Deny. Plaintiff had access to the posting policy which sets forth terms
13
           of use.
14
15         4.38. This paragraph calls for a legal conclusion and therefore no answer is
16         required. To the extent that any factual allegations are set forth, Defendants
17         deny the same.
18         4.39. This paragraph calls for a legal conclusion and therefore no answer is
19
           required. To the extent that any factual allegations are set forth, Defendants
20
           deny the same.
21
           4.40. Defendants are without sufficient information to admit or deny and
22
23
           therefore deny the same.
24                            V.   INJUNCTIVE CLAIMS
25         5.1. Defendants admit or deny as set forth above.
26         5.2. This paragraph calls for a legal conclusion and therefore no answer is
27         required. To the extent that any factual allegations are set forth, Defendants
28
           deny the same.
29
30   DEFENDANTS’ ANSWER TO PLAINTIFF’S
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                                                                        818 W. Riverside, Suite 250
                                                                          Spokane, WA 99201-0910
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 1         5.3. This paragraph calls for a legal conclusion and therefore no answer is
 2
           required. To the extent any factual allegations are set forth, Deny. Plaintiff
 3
           had access to the posting policy which sets forth terms of use.
 4
                                VI.   DAMAGES CLAIMS
 5
           6.1. Admit or deny as set forth above.
 6
 7         6.2. This paragraph calls for a legal conclusion and therefore no answer is
 8         required. Defendants admit that jurisdiction is appropriate and further
 9         affirmatively assert that the hiding of comments was not based on viewpoint
10         but were based on violation of the posting policies, use standards or filters.
11
           Plaintiff further had access to the posting policy which sets forth the terms of
12
           use.
13
           6.3. This paragraph calls for a legal conclusion and therefore no answer is
14
15         required. Defendants admit that the cause of action is brought per Plaintiff’s
16         complaint under 42 U.S.C. 1983 and the Fourteenth Amendment.
17                       VII.    AFFIRMATIVE DEFENSES
18         1. That all actions of the Defendants herein alleged as negligence, manifest a
19
              reasonable exercise of judgment and discretion by authorized public
20
              officials made in the exercise of governmental authority entrusted to them
21
              by law and are neither tortious nor actionable.
22
23
           2. That the Plaintiff has failed to state a claim upon which relief may be
24            granted.
25         3. That if Plaintiff sustained any injury or damage, the same was provoked
26            by the conduct of Plaintiff.
27
28
29
30   DEFENDANTS’ ANSWER TO PLAINTIFF’S
     COMPLAINT FOR DAMAGES AND JURY DEMAND- page 8
                                                                          818 W. Riverside, Suite 250
                                                                            Spokane, WA 99201-0910
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 1         4. That Defendant at all times acted in good faith in the performance of its
 2
              duties and is therefore immune from suit for the matters charged in
 3
              Plaintiff's Complaint.
 4
           5. That if Plaintiff suffered any damages, recovery therefore is barred by
 5
 6
              Plaintiff's failure to mitigate said damages.
 7         6. That the claims alleged under 42 U.S.C. § 1983 against the government
 8            employees are barred by the doctrine of qualified immunity. (See: See
 9            Saucier v. Katz, 533 U.S. 194 (2001)).
10             VIII.   ADDITIONAL AFFIRMATIVE DEFENSES
11
           Because Plaintiff’s allegations and causes of action are stated in vague and
12
     conclusory terms, Defendant cannot fully anticipate each affirmative defense that
13
     may be applicable to this action. Accordingly, Defendant reserves the right to
14
15   plead additional affirmative defenses, if and to the extent that such affirmative
16   defenses are appropriate and available in this case.
17                         IX.     REQUEST FOR RELIEF
18         WHEREFORE, Defendant prays for relief as follows:
19
        1. That the Complaint be dismissed, with prejudice in its entirety.
20
        2. That Plaintiff take nothing by reason of this Complaint and that judgment
21
           be entered against Plaintiff and in favor of Defendant.
22
23
        3. That Defendant be awarded its attorneys’ fees and costs incurred in
24         defending this action.
25      4. That Defendant be granted such other and further relief as the Court may
26         deem just and proper.
27                               X.    JURY DEMAND
28
        Defendants hereby demand that this matter be tried to a jury.
29
30   DEFENDANTS’ ANSWER TO PLAINTIFF’S
     COMPLAINT FOR DAMAGES AND JURY DEMAND- page 9
                                                                       818 W. Riverside, Suite 250
                                                                         Spokane, WA 99201-0910
                                                               (509) 455-5200; fax (509) 455-3632
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 1       DATED this 16th day of September, 2024.
 2
 3                                 EVANS, CRAVEN & LACKIE, P.S.
 4
 5
                                   S/ Heather C. Yakely
 6                                 HEATHER C. YAKELY, WSBA #28848
 7                                 Attorney for Defendants
                                   818 W. Riverside, Suite 250
 8
                                   Spokane, WA 99201
 9                                 (509) 455-5200
10                                 hyakely@ecl-law.com
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30    DEFENDANTS’ ANSWER TO PLAINTIFF’S
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                                                                         Spokane, WA 99201-0910
                                                               (509) 455-5200; fax (509) 455-3632
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 1                            CERTIFICATE OF SERVICE
 2
      I hereby certify that on September 16th, 2024, I electronically filed the foregoing
 3
 4    with the Clerk of the Court using the CM/ECF System which will send notification
 5    of such filing to the following:
 6          Braden Pace
 7          Mika K. Rothman
            Joseph R. Shaeffer
 8
            Email:     bradenp@mhb.com
 9          Email:     mikar@mhb.com
10          Email:     joe@mhb.com
11
12
13                                      ______________
                                      Savannah Youmans, Legal Assistant
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30    DEFENDANTS’ ANSWER TO PLAINTIFF’S
      COMPLAINT FOR DAMAGES AND JURY DEMAND- page 11
                                                                         818 W. Riverside, Suite 250
                                                                           Spokane, WA 99201-0910
                                                                 (509) 455-5200; fax (509) 455-3632
